                                      Case 3:20-cv-01450-JLS-BGS Document 7 Filed 10/07/20 PageID.35 Page 1 of 2



                                  1   Thiago Coelho, SBN 324715
                                      thiago@wilshirelawfirm.com
                                  2
                                      WILSHIRE LAW FIRM
                                  3   3055 Wilshire Blvd., 12th Floor
                                      Los Angeles, California 90010
                                  4
                                      Telephone: (213) 381-9988
                                  5   Facsimile: (213) 381-9989
                                  6
                                      Attorneys for Plaintiff
                                  7
                                  8                        UNITED STATES DISTRICT COURT
                                  9               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                 10
                                      JULISSA COTA, individually and on             CASE NO.: 20-cv-1450 JLS (BGS)
                                 11   behalf of all others similarly situated,
                                 12                                                 NOTICE OF SETTLEMENT
                                                             Plaintiff,
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13
                                            v.
                                 14
                                 15   WESTFIELD AMERICA LIMITED
                                 16   PARTNERSHIP, a Delaware
                                      corporation; and DOES 1 to 10,
                                 17   inclusive,
                                 18
                                 19                         Defendants.
                                 20
                                 21
                                 22
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28

                                                                          NOTICE OF SETTLEMENT
                                      Case 3:20-cv-01450-JLS-BGS Document 7 Filed 10/07/20 PageID.36 Page 2 of 2



                                  1         Plaintiff, Julissa Cota (“Plaintiff”), hereby notifies the Court that the claims
                                  2   of Plaintiff have settled on an individual basis. A notice of dismissal of Plaintiff’s
                                  3   individual claims in accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(i)
                                  4   will be filed upon execution of a formal settlement agreement. Plaintiff reserves
                                  5   the right to reopen within thirty (30) days if a settlement is not finalized.
                                  6
                                  7   Dated: October 7, 2020                         Respectfully Submitted,
                                  8
                                  9                                                  /s/ Thiago M. Coelho
                                                                                     Thiago M. Coelho
                                 10                                                  WILSHIRE LAW FIRM
                                 11                                                  Attorneys for Plaintiff

                                 12
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13
                                 14
                                 15
                                 16
                                 17
                                 18
                                 19
                                 20
                                 21
                                 22
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28
                                                                                 2
                                                                      NOTICE OF SETTLEMENT
